               Case 23-11069-CTG   Doc 995-2   Filed 10/30/23   Page 1 of 3




                                      Exhibit A
                                   Proposed Order




DOCS_DE:245590.1 96859/001
                  Case 23-11069-CTG             Doc 995-2        Filed 10/30/23         Page 2 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. __

                ORDER, PURSUANT TO SECTION 365(D)(4) OF THE
       BANKRUPTCY CODE, EXTENDING THE DEBTORS’ TIME TO ASSUME OR
        REJECT UNEXPIRED LEASES OF NONRESIDENTIAL REAL PROPERTY

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) extending the time within which

the Debtors may assume or reject nonresidential real property leases, all as more fully set forth in

the Motion; and upon the First Day Declaration; and the district court having jurisdiction under

28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court having found that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that venue
of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate and

no other notice need be provided; and this Court having reviewed the Motion and having heard the

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



DOCS_DE:245590.1 96859/001
               Case 23-11069-CTG         Doc 995-2      Filed 10/30/23      Page 3 of 3




statements in support of the relief requested therein at a hearing, if any, before this Court

(the “Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and upon all of the proceedings had before

this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.       The Motion is granted as set forth herein.

        2.       The time period within which the Debtors may assume or reject the Unexpired

Leases is extended through March 4, 2024, in accordance with section 365(d)(4) of the Bankruptcy

Code.

        3.       This Order is without prejudice to the right of the Debtors to request additional

extensions of time to assume or reject the Unexpired Leases consistent with section

365(d)(4)(B)(ii) of the Bankruptcy Code.

        4.       Nothing contained in this Order shall be construed as (a) an assumption or rejection

of any of the Unexpired Leases under section 365(a) of the Bankruptcy Code or (b) an admission

by the Debtors that a particular instrument is or is not a true lease. Any and all of the Debtors’

rights, claims, and defenses with respect to the characterization of any contracts and Unexpired

Leases pursuant to sections 365(d)(3) and 365(d)(4) of the Bankruptcy Code or otherwise are

expressly reserved.

        5.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        6.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                   2
DOCS_DE:245590.1 96859/001
